Case 8:22-cv-01188-SDM-JSS Document 57 Filed 06/24/22 Page 1 of 3 PageID 4370



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

JOHN HYATT,

       Plaintiff,

v.                                                Case No. 8:22-cv-1188-TPB-JSS

LLOYD AUSTIN, III, et al.,

      Defendants.
______________________________/

                                           ORDER

       This matter is before the Court sua sponte. Having carefully considered the

complaint, amended complaint, court file, and the record, the Court finds as follows:

       Plaintiff John Hyatt, 1 a Chief Warrant Officer-4 in the United States Marine

Corps, challenges the U.S. military’s covid-19 vaccine mandate. His challenges are

based on alleged violations of: (1) informed consent laws due to the alleged

unavailability of an FDA-licensed vaccine; (2) the Administrative Procedure Act

(“APA”); (3) the Religious Freedom Restoration Act (“RFRA”); and (4) the First

Amendment’s Free Exercise Clause.



1 The Court notes that Plaintiff originally filed suit as a member of a group of service members
from each branch of the armed forces in Crosby v. Austin, 8:21-cv-2730 (M.D. Fla. 2021). In
that complaint, Plaintiff claimed to be domiciled and stationed in Hawaii. The Court severed
the numerous plaintiffs for misjoinder but gave them the opportunity to refile suits in the
appropriate venues. Plaintiff elected to file suit, again as a member of a group of plaintiffs,
not in Hawaii, but in the Jacksonville Division of the Middle District of Florida. Those
plaintiffs were again severed by Judge Howard, and she transferred their cases to various
venues. In the operative complaint, Plaintiff now claims to be domiciled in Tampa, Florida,
and currently stationed in Hawaii. It is not clear whether Plaintiff has attempted to deceive
the courts as to his citizenship or domicile, or whether these inconsistencies are the result of
innocent mistakes. The Court reserves the opportunity to reconsider venue issues, if
necessary, at a later stage of the proceedings.
                                           Page 1 of 3
Case 8:22-cv-01188-SDM-JSS Document 57 Filed 06/24/22 Page 2 of 3 PageID 4371



       Upon review, the Court finds that all of Plaintiff’s claims, other than his

religious objections, are subject to dismissal for a “simple overarching reason: Under

Article II of the Constitution, the President of the United States, not any federal judge,

is the Commander in Chief of the Armed Forces.” Austin v. U. S. Navy Seals 1-26, 142

S. Ct. 1301, 1302 (2022) (Kavanaugh, J., concurring). For this reason – separation of

powers – it is unnecessary to discuss the various legal arguments made here in detail.

At the end of the day, the outcome is the same. The President, not the federal courts,

runs the U.S. military. Except for Plaintiff’s religious claims, the Court declines to

intrude upon the authority of the Executive in military affairs and will not attempt to

adjudicate the wisdom of professional military judgments. 2

       As to Plaintiff’s religious claims, in the interest of judicial economy, the Court

will transfer this case to the Honorable Steven D. Merryday, with his consent, as it

appears related to a pending class action lawsuit before his Honor.




2 Reasonable people may certainly disagree with the professional military judgments that
have been made to terminate the employment of numerous individuals over what is,
indisputably, a highly-charged political issue about which many Americans hold very strong
convictions on both sides. The wisdom of these decisions is particularly troubling where, as
here, a response less severe than outright termination is possible, and the individuals being
terminated have long and distinguished records of military service, including service in
combat where they have been deployed around the globe in harm’s way, voluntarily placing
their lives on the line for the country. Nonetheless, the fact remains that under our system of
government, the Executive is in charge of the military and, absent a valid religious concern, is
generally free to implement the policies at issue in this case without interference from the
courts.

                                           Page 2 of 3
Case 8:22-cv-01188-SDM-JSS Document 57 Filed 06/24/22 Page 3 of 3 PageID 4372



        Accordingly, it is

        ORDERED, ADJUDGED, and DECREED:

  (1) All claims, other than Plaintiff John Hyatt’s religious objections, are

        hereby DISMISSED.

  (2) The Clerk is directed to transfer this case to the Honorable Steven D.

        Merryday, with his consent.

  (3) The Clerk is directed to terminate Plaintiff’s “Motion to Transfer

        Action Pursuant to Local Rule 1.07” as moot.

        DONE and ORDERED in Chambers, in Tampa, Florida this 24th day of June,

2022.




                                              TOM BARBER
                                              UNITED STATES DISTRICT JUDGE




                                       Page 3 of 3
